   Case: 2:18-cr-00182-ALM Doc #: 183 Filed: 01/25/21 Page: 1 of 6 PAGEID #: 852




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

UNITED STATES OF AMERICA                      :
                                              :       Case No. 2:18-cr-182
              Plaintiff,                      :
                                              :       CHIEF JUDGE ALGENON L. MARBLEY
       v.                                     :
                                              :       Magistrate Judge Elizabeth P. Deavers
JEROME WATKINS, JR.                           :
                                              :
              Defendant.                      :


                                    OPINION & ORDER

                                    I.        INTRODUCTION

       This matter comes before the Court on Defendant Jerome Watkins’ Motions for

Compassionate Release. (ECF Nos. 171, 173, 174, 175, 176, 177, 181). The Government opposes

release. (ECF Nos. 178, 179, 182). This Court previously held Mr. Watkins’ Motion for

Compassionate Release in Abeyance to permit counsel to provide a supplemental motion on the §

3553 factors. (ECF No. 180). Both parties filed supplemental motions as a result. (ECF Nos. 181,

182). For the following reasons, the Court DENIES WITHOUT PREJUDICE Mr. Watkins’

Motion for Compassionate Release, (ECF Nos. 171, 173, 174, 175, 176, 177, 181).

                                         I.       BACKGROUND

       On August 30, 2018, a grand jury returned a one-count indictment charging Mr. Watkins

and three others with Conspiracy to Illegally Transfer Firearms in violation of 18 U.S.C. § 371.

The Government alleged that Mr. Watkins was the leader of the conspiracy. On September 27,

2019, the Court sentenced Mr. Watkins to a below-guidelines term of imprisonment of 36 months

and a 3-year term of supervised release. He was ordered to report to the United States Marshal’s

Service to begin his term of imprisonment on November 25, 2019. (See ECF No. 141 at 445.)



                                                  1
   Case: 2:18-cr-00182-ALM Doc #: 183 Filed: 01/25/21 Page: 2 of 6 PAGEID #: 853




       On June 22, 2020, Mr. Watkins submitted an administrative request for compassionate

release or home confinement due to the COVID-19 pandemic. On July 7, 2020, Mr. Watkins filed

a pro se motion asking the Court to place him on home confinement. (ECF No. 165). On August

3, 2020, the Court denied the motion, given Mr. Watkins’ failure to exhaust his administrative

remedies. (ECF No. 167). The Warden denied the request on June 24, 2020. On September 25,

2020, Mr. Watkins filed a second motion for compassionate release. (ECF No. 171.) Mr. Watkins

argued that he had properly exhausted his administrative remedies. (ECF No. 171 at 1). In addition,

Mr. Watkins reported that he suffers from asthma, a medical vulnerability that poses an added

danger to his health if he contracted the COVID-19 virus, i.e., asthma. The Government argued

that even if Mr. Watkins has exhausted administrative remedies, that he has nevertheless failed to

establish “extraordinary and compelling reasons” justifying his release. (ECF No. 178).

       On December 1, 2020, the Court held Mr. Watkins’ Second Motion for Compassionate

Release in abeyance to allow the parties to file a supplemental motion on the § 3553 factors. This

Court instructed the parties to focus on whether Mr. Watkins would pose a danger to the

community upon release. In this Court’s December 1 Opinion & Order, it determined that Mr.

Watkins has exhausted his administrative remedies, thereby fulfilling the claim-processing rule

under 18 U.S.C. § 3582(c)(1)(A), see also United States v. Alam, 960 F.3d 831, 832 (6th Cir.

2020). (ECF No. 180). In addition, the Court also answered in the affirmative the question of

whether Mr. Watkins demonstrated “extraordinary and compelling reasons” for release under 18

U.S.C. 3582(c)(1)(A), based upon his mild asthma diagnosis. United States v. Jones, 980 F.3d

1098, 1109 (6th Cir. 2020). On December 8, Mr. Watkins filed a Supplemental Motion to his

Motion for Compassionate Release. (ECF No. 181). He resubmitted the foregoing comments on

his health concerns and expanded on his personal and family background. The Government




                                                2
    Case: 2:18-cr-00182-ALM Doc #: 183 Filed: 01/25/21 Page: 3 of 6 PAGEID #: 854




responded in opposition. (ECF No. 182). Thus, the only remaining question for adjudication is

whether Mr. Watkins meets the § 3553(a) factors.

                                        II.   LAW & ANALYSIS

       As an initial matter, this Court recognizes the devastating impact of the COVID-19

pandemic and that prison populations are subject to heightened vulnerability. The spread of

COVID-19 in prisons has been well documented. Upon this Court’s December 1 Order, Lewisburg

USP, where Mr. Watkins is confined, had 86 recovered cases among inmates and 14 recovered

cases among staff, with only 4 cases among staff and none among the inmate population. (ECF

No. 180 at 5, n.1). Now, however, this number has skyrocketed with 54 inmates and 31 staff

currently sick with COVID-19; 116 inmates and 19 staff members have recovered.1

       Thus, as this Court held and still holds, Mr. Watkins’ asthma diagnosis places him at an

increased risk of severe illness or death if afflicted with COVID-19, and this constitutes

“extraordinary and compelling reasons” within the meaning of the First Step Act. This Court

clarifies, however, that the CDC does not categorize asthma as an underlying medical condition

that is known to place adults at an increased risk of severe illness from the virus. Rather, the CDC

explains that those with moderate-to-severe asthma “might be at an increased risk from a severe

illness from the virus that causes COVID-19.”2

                                   A. Section 3553 Sentencing Factors Analysis

       While Mr. Watkins has demonstrated “extraordinary and compelling reasons” which could

justify a reduction in sentence, this Court must also consider “all relevant § 3553(a) factors before



1
  BOP, COVID-19 Coronavirus, https://www.bop.gov/coronavirus, last access 1/7/2020 at 4:30
p.m.
2
  CDC, People with Certain Medical Conditions, https://www.cdc.gov/coronavirus/2019-
ncov/need-extra-precautions/people-with-medical-conditions.html, last access 1/8/2020 (5:00
p.m.) (emphasis added).


                                                 3
   Case: 2:18-cr-00182-ALM Doc #: 183 Filed: 01/25/21 Page: 4 of 6 PAGEID #: 855




rendering a compassionate release decision.” Jones, 2020 WL 6817488, at *11. A court does not

need to “specifically articulat[e]” every single § 3553(a) factor in its analysis; instead, the record

“as a whole” must indicate that the pertinent factors were taken into account by the court. Id.

Under the applicable policy statement, this Court must deny a sentence reduction unless it

determines the defendant “is not a danger to the safety of any other person or to the community.”

U.S.S.G. § 1B1.13(2).

        In his Supplemental Motion, Mr. Watkins explains he has demonstrated meaningful steps

toward rehabilitation while incarcerated and that he does not an extensive criminal history. (ECF

Nos. 171, 181). Prior to his incarceration, Mr. Watkins obtained and maintained gainful

employment. (ECF No. 181 at 4). As to whether his release would pose a danger to the community,

Mr. Watkins relies upon his lack of criminal history, commitment to counseling to address his

emotional well-being and substance-abuse concerns, and low “Male Pattern Risk” and “Violent”

scores. (Id. at 6).

        On the other hand, Mr. Watkins’ Supplemental Motion acknowledges that he would benefit

from continued counseling and self-examination. (Id. at 4 (“Though Mr. Watkins could not explain

to the Court at his sentencing hearing why he chose criminal conduct as a solution to his losing his

job . . . he may be better equipped to answer that question with continued counseling and self-

examination.”). And the Supplemental Motion’s discussion of why Mr. Watkins would not pose a

danger to the community upon release is fairly bare-bones.

        The Government’s Supplemental Response in Opposition to Mr. Watkins’ motion argues

that the § 3553(a) factors weigh strongly against releasing Mr. Watkins or altering his sentence.

First, the Government contends that continued incarceration is appropriate given that Mr. Watkins

has been able to take meaningful steps toward rehabilitation, and thus fears that early release would




                                                  4
   Case: 2:18-cr-00182-ALM Doc #: 183 Filed: 01/25/21 Page: 5 of 6 PAGEID #: 856




stall that progress. Further, the Government emphasizes that the nature of Mr. Watkins’ underlying

offense—Conspiracy to Illegally Transfer Firearms—is a violent and dangerous offense. It argues

that the Defense’s characterization of the underlying offense as “victimless” is specious since the

firearms involved in the conspiracy were used in two separate criminal instances. Mr. Watkins is

also only a third of the way through his three-year sentence. The Government posits that an early

release would negate the deterrence value of his below-Guidelines sentence, which would

compromise the safety of the community. The Government also contends that early release would

cut off the progress Mr. Watkins has made in addressing his substance abuse.

       Here, the Court must contemplate both the health risks to Mr. Watkins and the interests

served by continued incarceration. The nature of the underlying offense, even if distinguishable

from crimes more traditionally classified as violent, is a troubling and serious offense that

facilitated the violent crimes of others. To be clear, the Court is not indifferent to Mr. Watkins’

asthma diagnosis or the complications that may arise from his exposure to COVID-19. But prior

to releasing a defendant from federal custody pursuant to 18 U.S.C. § 3582(c)(1)(A), the Court

must be convinced that the defendant is not a danger to the safety of any other person or the

community. See U.S.S.G. § 1B1.13. Given the nature of the underlying offense to Conspiracy to

Illegally Transfer Firearms, the Court is not confident that Mr. Watkins’ early release would pose

no danger to the community. Accordingly, Mr. Watkins’ Motion for Compassionate Release is

DENIED WITHOUT PREJUDICE.




                                                5
  Case: 2:18-cr-00182-ALM Doc #: 183 Filed: 01/25/21 Page: 6 of 6 PAGEID #: 857




                                      III.    CONCLUSION

       For these reasons, the Court DENIES WITHOUT PREHUDICE Mr. Watkins’ Motion

for Compassionate Release. (ECF Nos. 171, 173, 174, 175, 176, 177, 181).

       IT IS SO ORDERED.

                                             ALGENON L. MARBLEY
                                             CHIEF UNITED STATES DISTRICT JUDGE
DATED: January 25, 2021




                                               6
